Case 9:23-cv-00061-DLC Document 2 Filed 05/22/23 Page 1 of 2

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Attorneys for Plaintiff

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

 

capacity as Attorney General of the
State of Montana,

Defendant.

MISSOULA DIVISION
)
TIKTOK INC., )
)
Plaintiff, )
} Civil Action No.

Vv. )

) PLAINTIFF’S CORPORATE

AUSTIN KNUDSEN, ix his official ) DISCLOSURE STATEMENT
)
)
)
)
)

 
Case 9:23-cv-00061-DLC Document 2 Filed 05/22/23 Page 2 of 2

Pursuant to Fed. R. Civ. P. 7.1, Plaintiff TikTok Inc. respectfully provides the

following:

TikTok Inc. is a wholly owned subsidiary of TikTok LLC, which is a wholly
owned subsidiary of TikTok Ltd. TikTok Ltd. is a wholly owned subsidiary of
ByteDance Ltd. ByteDance Ltd. is a privately held corporation. No publicly held

corporation owns 10% or more of the stock of TikTok Inc.

Dated: May 22, 2023 Respectfully Submitted,
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